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                                                                  FILED BY                D.C.
                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA
                                                                      AFF 22 2219
                                                                      ctraltl
                                                                            'l' lôs/tEv
                                                                      s.o.o:/I.A.-Mkvi
   Guillerm o A.Sanchez-Badia
   Petitioner

                                            CASEN0.:17-22171-CV-LENARD/REID
                                                    15-20545-CR-LENARD/REID
   UnitesStates ofAm erica
   Respondent

                                /

           MOTION OFREDUCTION IN SENTENCEPURSUANT T0 RULE60(b)

         The M ovant,Guillerm o A.Sanchez-Badia,pro-se,hereby files this m otion of
   forreductioninsentencepursuanttoRule60(b).

                                CRIM INAL PROCEEDINGS
         On M arch 21,2016,petitionerentered into a w ritten plea agreem entw ith the
   government,agreeingtopleadguiltytothreecounts;(1)conspiracytocommitwire
   fraud,(2)wirefraud,and(3)conspiracytocommitmoneylaundering.
         Priorto sentencing,the United StatesProbation Office prepared a
   PresentenceInvestigation Report(tfPSl'').Inthevictim impactsection,thePSl
   provided thatasa resultofpetitioner'soffenses,The FactorGroup alleged it
   suffered losestotaling over$7 million,resultingin insolvency,substantial
   retirem entand investm entlosses,the closing ofbusinessesin tw o countries,and
   thelossof120 jobs.Thetotallossesforthethreereportingvictimswerein excess
   of$10 million.



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        According to the PSI,petitioner'sinitialbase offense w as level7 and he w as
  charged with lossamountintherangeofm orethan $9,500,000 butnotm orethan
  $25,000,000.Counselforthepetitionerdid disagreewith thelossam ount,but
  ratherthan focus on a properlossam ount,counselincorrectly asserted thatthe
  petitionerw asnotthe sole cause ofThe FactorGroup'sinsolvency.
         This argum enthad no effecton the finalsentence,w hich w as 144 m onths
  after a dow nw ard variance,based on age and the petitioner's currenthealth.The
   restitution wasdetermined tobe$11,503,068.


                                    JURISDICTION
         FederalRulesofCivilProcedure60(b)enumeratedspecificcircumstancesin
   which a partmay berelieved ofthe effectofajudgementsuch asm istake,newly
   discovered evidence,fraud and the like.The rule concluded thata Courtm ay lifta
   judgm entforany reason thatjustifiesrelief,
         Reliefunder60(b)isonlyavailableint'extraordinarycircumstances.''
   Gonzalezv.Crosby,545 U.S.524,535,135 S.Ct,2641,162 L.Ed.2d 280 (2005).
   Determ ining w hethersuch circum stancesare presentm ay include consideration of
   awidearray offactorincluding''the risk ofinjusticetotheparties''andthe ttrisk of
   underm iningthepublicconfidencein thejudicialprocess.''Liljebergv.Health
   AcquisitionCorp.,486U.S.847,863-64,108S,Ct.2194,100L,Ed,855(1987).
         ln fact,ttthe second circuithasexplained thatFederalRule ofCivilProcedure
   isagrand reservoirofequitablepow erto dojustice in aparticularcasewhen relief
   isnotwarrantedby theprecedingclauses.''Jacksonv.Pfau.No 9:10-cv-1484,2012,
   U,S.Dist193460,2012W L12883375and2(N,D.ofN.Y,Jan10,zolzltquoting
   Transaerov.LaFuerzaAereaBolivariana,24 F,3d,457,461(2ndCir.1984)).
         Additionally,Rule60(b)oftheFederalRuleofCivilProcedureis''properly
   invoked onlywhen extraordinary circumstancesjustify relieforwhenthe
   judgem entm ayw ork an extrem eorunduehardship.''Iackson.2012 U.S.Dist,LEXIS
   193460,2012 W L 12883375at2 (quoting EmpressaCubano DelTobaccov.General
                                       Page 2 of9
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   CigarCo.,lnc.,385 Fed,Appx.29,31 (2ndcir2010),TheCourthaslong recognized
  there are a classofcasesw here the conductofcounsel'sactionsbroughtunder
   60(b)(3)don'tamountto fraud,perse,neverthelessqualify undertherulesttsavings
   clause''
        lnCompaniellov.lmportsSaportiltalia,117F.3d655,661 (2ndcir,1997),it
   washeld''60(b)'ssavingsclauseallowsaCourttorelieveapartfrom judgment,
   orderorproceeding,oristo setasidejudgm entfrom fraud upon theCourt.''
   Congress clearly w ished to provide forsuch situation and m ade itpartofthe statute.
         ''h motion pursuanttoFed.R.Civ,P.60(b)to vacateajudgmentdenying a
   habeaspetition isnotthe sam e as a successive petition. ltserved a different
   purpose.lfsuccessful,itresultsin the reopening ofthe originalpetition,notthe
   vacaturoftheunderlying conviction and raisesdifferentissues,Accordingly,such a
   m otion isnotsubjectto thegatekeepingrequirem entsapplicableto successive
   petitions.''Rodriguezv,Mitchell.252 F.3d 191,200 (2ndcir.2001),''Notmuch is
   required to renderaclaim meritoriousforRule60(b)purposes,Patrakerv,The
   CounciloftheEnvironmentofNew York City,02-cv-7382(LAK)-JudgeLewisA.
   Kaplan,
         Additionally,Rule60(b)(3)provided relieffrom afinaljudgmentwherethe
   opposingparthascommitted fraud.Fed,R,Civ,P,60(b)(3).MotionsunderRule
   60(b)mustbebroughtwithinoneyearoftherelevantjudgment.Id,60(c)(1),The
   m ovantm ustestablish thattheopposingparty obtained theorderofjudgment
   through fraud.Cox NuclearPharm,Inc.v,CTI,lnc.,478 F.3d 1303,1314 (11thCir.
   2007),Mereconclusorystatem entsoftheexistence offraud willnotsuffice.
   Booker,825 F.2d 283-84.
         Rule 60(b)(6),or''thecatch allprovision''authorized relieffor''any other
   reasonsjustifyingrelieffrom theoperation ofthejudgm ent.''Fed.R,Civ,P.60(b)(6);
   Canov.Baker,435 F.3d 1337,1342 (11thCir.2006),Reliefunderthisclauseisan
   extraordinary rem edy,w hich m ay be invoked only upon a show ing ofexceptional
   circum stancesand thatabsentsuch relief,and extrem e and undue hardship w ill
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   m otionsm ustdem onstrate thatthe circum stancesare sufficiently extraordinary to
  w arrantrelief.Cano,435 F.3d at1342.
          Rule60(b)motionsmustbefiledwithina'freasonabletime'',orthe
   subsection(1),(2),and(3)withinayearofjudgment.Importantly,thefactthatthe
   ruleitselfimposed differenttimelimitsonmotionsunderRule60(b)(6)and
   60(b)(1)-(3),has1edtotheconclusionthatgroundsspecifiedunderother
   subsectionswillnotjustify reliefundersubsection (6).Seven Elves.Inc.v.Skenazi,
   635F.2d,396,402N 3(5thCir.1981).
          However,aftertheoneyearforfilingaRule60(b)(3)motionhaspassed,a
   partymaybringanindependeniactionoffraudontheCourt.Fed.R.Civ.P.60(d)(3);
   Traveler'slndem C0,v.Gore.761 F.2d 1549,1551 (11thCir.1985).The ttFraud On
   the Court''standard ism ore exacting than the standard for fraud underRule
   60(b)(3);encompassingonlythemostegregiousmisconduct,suchasbriberyofa
   judge,ormemberofajury,orthefabrication ofevidenceby aparty in which an
   attorney isimplicated.Rozierv.Ford MotorCo..573 F.2d 1332,1333 (5thCir.1978).
          Tosucceedinanactionunder60(d),apartymustshow:(1)ajudgment
   which oughtnot,in equity and good conscious,tobe enforced;(2)agood defenseto
   theallegedcauseofaction onwhichthejudgmentisfounded;(3)fraud,accidentor
   m istakeswhich prevented thedefendantinthejudgm entfrom obtainingthebenefit
   ofhisdefense;(4)theabsenceoffaultornegligenceonthepartofthedefendant;
   and (5)theabsence ofany rem edy oflaw.Traveler'sIndem Co.,761 F.2d at285.
         Therefore,since this is nota successive 28 U.S.C.j 2255,butrathera new
   cause ofaction and itshould be decided by the Courtbased on the evidence and
   argum entsincluded herein w ithouthaving to m eetthe gate keeping requirem ents.


                                   LEGAL ARGUM ENT
         PetitionerSanchez.Badia is qualified to file a m otion to correctand reduce his
   sentencepursuanttoFed.R.Civ.P.60(b).Additionally,thisisnotasecondor
   successive m otion pursuantto a 28 U.S.C,j2255 w hich necessitatesthe gate
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  keeping requirem entsthatm ustbe m etand approved atthe appellate level, ltis
   instead a new m otion based on the issues discussed prior,butnew case law requires
  the Courtto take a deeperlook atthese issuesin orderto avoid a ltm iscarriage of
  justice''asoccurred in therecently decidedSuprem e Courtcase,United Statesv.
   Buck,137 S.Ct.759 L.Ed.2d 1,2017 U.S.LEXIS 1429,85 U.S.L.W .403,26 Fla L
   W eeklyFed.S419(20179.
         The key pointofthiscase thatrelates to the instantcase isthatthe Suprem e
   CourtallowedadefendanttobringamotionforreliefunderFed.R.Civ.P.60(b),
   which vestswidediscretion in Courtsbutjudicialprecedentholdsthatwith relief
   underRule60(b)present?aCourtmay considerawiderange offactorsthatmay
   include,in an appropriate case,the risk ofinjusticetothepartiesandthe ttrisk of
   underminingthelocaljudicialprocess''.Liljebergv.Health ServicesAcquisition.
   Corpa,486U.S.847,863-64,108S.Ct,2194,100 L.Ed,2d 855 (1987).
         Theseconditionsexisthere.Unfortunately,the Courtstillfeltjustified in the
   sentence they gave atthe tim e ofsentence.How ever,m any problem s stillexistw ith
   thissentence.These problem s are discussed in detailin the follow ing paragraphs.
         Firstofall,PetitionerSanchez-Badia should have had an evidentiary hearing
   pursuantto hism otion forhabeasreliefunder28 U.S.C.j2255.The Suprem e Court
   long ago resolved the issue,how ever,in a m annerthatisnow partofthe Federal
   Rulesof28 U.S.C.j 2255. Rule 8 ofthe section 2255 Rulesrequiresthe holding ofan
   evidentiary hearing on any disputed factualm annerpertinentto the decision ofthe
   m otion.Once the m ovant'salleged facts,w hich iftrue,w ould entitlehim to relief,a
   hearing isrequired to resolve the m eritsofthe actualdisputed facts.See Tow nsend
   v,Sain,372 U,S.213,312-313,83S,Ct.745,756-57 (1963).Asa result,ahearingis
   generally required ifthe m otion presents a colorable claim thatrises from m atters
   outsidetherecord.SeeUnited Statesv.Magnin,973 F.3d 261,264 (4thCir.1992)
   (hearingnecessaryffwherematerialfactsareindisputeinvolvinginconsistencies
   beyondtherecord'').

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         Secondly,the Courtcom m itted a proceduralerror by applying an incorrect
   sentencing enhancem entdue to the lossam ountbeing arbitrarily applied.
         Thatw asbecause w hen determ ining the am ountofloss in a case,section
   2B1.1(b)(1)oftheSentencingGuidelineprovidesatablefordeterminingthelevelof
   enhancem entbased on the lossattributable to the offense.The loss calculation
   'tservesas a proxy forthe seriousness ofthe offense and the defendant's relative
   culpabilit/',Campbell.765F.3dat1301(quotingU.S.S.G.j2B1.1cmtbackground).
   ln financialfraud cases,the loss calculation often drivesthe sentence. Se e.g.United
   Statesv.Olis,429 F.3d 540,545 (5thCir.2005).'tThemostsignificantdeterminantof
   the defendant's sentence isthe losscalculation'',United Statesv,Robles,No Cr04-
   1594 (B)SCW ,2015U.S.atDist.LEXIS37198,2015W L7383756,at(C0 CALMay
   19,2005).ttthelosscalculation in thiscaseistheprimary driverbehind the
   guideline range ofm ore than doubling the offense leveland tripling the suggested
   sentence...''.United Statesv.Faulkenberry,759 F.Supp 2d915,(S.D.Ohio 2010)
         Therearetwo waystom easurelossunderU.S.S.G.j2B1.1 actualand
   intended loss,andtheCourtisinstructed to thegreaterofthetwo.U.S.S.G.j 2B1,1
   cmtin f'3(A).Intheinstantcase,theintended losswasused.
         How ever,the problem in thiscase isthatthe governm entlacked a reliable
   foundation to determ inethe intended lossam ount.They instead m ade a
   determ ination they based upon erroneous assum ptions.
         Thegovernm entspun a tale ofhow they determ ined the lossam ountw hich
   had no basisin factand law .This is criticalsince the governm entbearsthe burden
   ofproving by a preponderance ofthe evidence actualloss attributable to the
   defendant'sconduct,UnitedStatesv.Rodriguez,751F.3d1244,1245(11thCir.
   2014).
         Thisw asnotdone here and,in fact,w hatin actuality happened isthe
   governm entconvinced the DistrictCourtto 'fengage in the kind ofspeculation
   forbidden by the sentencing guideline''.United Statesv.Bradley,644 F.1213,1292
   (11thCir.2011).Thatresultedinthiscasewhenthegovernmenttriedtousethe
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  collapse ofThe Factor Group on the petitionerand substantiate an undocum ented
  lossam ount.
        Thatisinappropriate because this calculation m ustbe based on ffreliable and
  specific evidence''ratherthap m ere speculation.United Statesv.Ford,784 F.3d
   1386,U.S.CourtofAppeals(11thCir.2015).Tocombatthelossclaim,petitionerhad
  a substantialam ountofevidence to show thatthe reasonsforThe FactorGroup's
   collapse w asdue to m any overw helm ing origins;the actions ofthe petitionerbeing
  a sm allcog in the w heelofthe granderoffense.
         Although petitionerdid receive a dow nw ard variance atsentence based on
   hisage and m edicalconditions,thisw asm ore than offsetby the large unsupported
   lossam ountproposed by the governm ent.Thissteered the Courtaw ay from giving
   a propersentence.
         The Courtsaid ''and lw on'tconsider,in fact,The Factor Group Com pany,
   w on'tbecom e insolventsolely asa resultofthis offense orpartially as a resultofthe
   offense''.(see Sentencing HearingTranscript;CR-DE 124)
         Problem isthatthe Courtthen w entto the PSland determ ined as a sentence
   lossam ountfrom unsupported estim ates.ln essence,petitioner'sw as
   inappropriately enhanced.Thislossam ountisplain errorand againsthis
   constitutionalrights.
         0ne cannotdisregard the factthatthe DistrictCourterred w hen itfailed to
   rule on the loss am ountdisputed w hen done in the case by trialcounselregarding
   the PSIlossam ount,as required by the FederalRule ofCrim inalProcedure
   32(i)(3)(B),(Ruleff32(i)(3)(B)'',Rule32(i)(3)(B)states'fatsentencing,the
   Court...m ust- forany disputed portion ofthe presentence reportor other
   controverted m atter- rule on the dispute thata ruling is unnecessary either
   because the m atterw illnotaffectsentencing,orbecause the Courtw illnotconsider
   the m atteratsentencing''.A1lrulingsunder Rule 32 m ustbe 'fexpress''orlfexplicit''
   United Statesv.Doe,705 F3d 1134,1153 (9thCir,2013).(quotingUnited Statesv.
   Houston,217F.3d1204,1208(9thCir.2000).Rule32(i)(3)(B)applieswhenthere
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  isa 'tspecificfactualobjection''toapresentencereport.UnitesStatesv.Petri,731
  F.3d833,841(9thCir.2013).Ithasbeenheldthatwhenadefendantchallengesthe
  lossam ountcalculationsforpurposesofapplying a sentence enhancem ent,the
   defendantraisesboth 'fa factualand legaldispute/',United Statesv.Berger,587 F.3d
   1038,1047(9thCir.).
          Underf'plain-errorreview,reversalispermittedonlywhenthereis(1)error
   thatis(2)plain,(3)effectssubstantialrightsand(4)seriouslyaffectsthefairness,
   integrity,orpublicreputation ofjudicialproceedings.''United Statesv.Flyer,633 F.
   911,917(9thCir.2011).
         Thatresulted here w hen petitionerw asgiven a sentence forsubstantially
   m ore than w asproperin the circum stances. Hisrightsw ere directly infringed and
   assuch an evidentiary hearing is necessary to correctthe record.


                                     CONCLUSION
         PetitionerSanchez-Badia hum bly requests thatthisCourtgrantthe reliefhe
   isrequesting to reduce hissentence to tim e served orany other reliefthatthe Court
   deem sappropriate,including an evidentiary hearing,
         The factsand legalargum entsin this case m ore than supportthisconclusion
   forthe follow ing reasons:
            ThisCourtdoeshavejurisdiction toentertain thism otion sincethe
            FederalRuleofCivilProcedure60(b)givestheCourtthepowertolifta
            judgm entforany reasonsthatjustify relief;
            The60(b)Rulecanbeinvokedtodojusticewhenthepriorjudgmentis
            extrem e orundue hardship asw asthe situation in the instantcase.That
            existshere due to sixth am endm entviolationsw hen legalassistance w as
            provided forthis case;
            Thism otion is nota second or successive 28 U.S.C,j 2255 and therefore
            doesnotnecessitate approvalofthe Appellate Court;


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         4. Thismotionistimelyfiledunder60(b),sincethismotionmustbefiled
            within areasonabletim eafterlastm otion wasdenied,w hich wasJanuary
            18,2019.
         5.TheSupremeCourtdidinfactgranta60(b)motionregardingineffective
            assistance ofcounselin the 2017 case Buck v.United States;
         6. Petitioner Sanchez-Badia should have been given an evidentiary hearing
            since no affidavitalleging effective assistance w asprovided by histrial
            cases.Thisfactchallengesa defectin the integrity ofthe FederalHabeas
            decisionandassuch,aRule60(b)isnow appropriate,Gonzalezv.Crosby,
            (2005)9
         7. A plain error occurred w hen the Courtdeterm ined a loss am ountbased
            upon unsupported docum entation.


         Therefore,based upon the above argum ents,PetitionerSanchez-Badia
         hum bly requeststhatthisCourtgranthim the reliefrequested and reduce his
         currentsentence to tim e served orany otherreliefthe Courtdeem s
         appropriate,including an evidentiary hearing.




   Respectfully subm itted,
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   Guillerm o A.Sanchez-Badia
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